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 6                       IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
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 9   HKB Incorporated,                                 No. CV-16-03799-PHX-DJH
10                 Plaintiff,                          ORDER
11   v.
12   Board of Trustees for the Southwest
     Carpenter's Southwest Trust, et al.,
13
                   Defendants.
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15           This matter having recently come before the Court,
16           IT IS ORDERED that a motion pursuant to Federal Rule of Civil Procedure 12(b)
17   is discouraged if the defect can be cured by filing an amended pleading. Therefore, the
18   parties must meet and confer prior to the filing of a motion to dismiss to determine
19   whether it can be avoided. Consequently, motions to dismiss must be accompanied by a
20   notice of certification of conferral indicating that the parties have conferred to determine
21   whether an amendment could cure a deficient pleading and have been unable to agree that
22   the pleading is curable by a permissible amendment. In addition, parties shall endeavor
23   not to oppose motions to amend that are filed prior to the Rule 16 Scheduling Conference
24   or within the time set forth in the Rule 16 Scheduling Order. Motions to dismiss that do
25   not contain the required certification are subject to be stricken on the Court’s motion.
26           IT IS FURTHER ORDERED that Plaintiff shall serve a copy of this Order upon
27   Defendant(s) and file notice of service.
28           Dated this 3rd day of November, 2016.


                                                   Honorable Diane J. Humetewa
                                                   United States District Judge
